Case 1:20-cv-12093-NMG Document 1-1 Filed 11/20/20 Page 1of1

17 November 20201, ED EMORY G. SNELL,JR.
IN CLERKS OFFICE 1 Harvard Rd.
ee Shirley, Ma. 01464-1218

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Chief Justice sine ety
United States DieHiedr GRUFESS.

1 Courthouse Way
Boston, Ma. 02210

Re: SNELL v. DESCOTEAUX, et al., USDC No. & Imminent Death

Dear Chief Justice:

In the above captioned matter, not yet docketed, I seek to enjoin the defendants from
their collective continuance of barring me a "cardiac" follow-up, when on 4/19/2019,
John Cadigan,MD, a cardiac surgeon diagnosed me with (a) dilated aorta, and (b)
ascending root. Both these cardiac conditions exceed the upper limits of their
respective capacities, which mandate elective / resection surgery immediately, as
evinced by the attached: Surgical treatment of the Dilated Ascending Aorta: When and
How? By way of ECHOcardiogram Report, Dr. Cadigan found that cardiac condition dire,
and required a year later follow-up. Deft. Descoteaux acknowledged in a 2 March 2020
letter Dr. Cadigan's request to see me in a year. However, Descoteaux's subordinates
in as retaliation for criminal (State Dist.Ct.) complaints, or Board complaints,
discriminated against me by "modifying" a doctor's previous order for 'No Stair
Climbing’ (in toto) to a 'No Stair Climbing in the housing unit,' which they knew would
invalidate an ADA/RA reasonable accommodation for car transport.

I close, praying that the Federal Courts can protect me from immininet death, as a
rupture of my dilated aorta/ascending root, is a catastrophic and usually fatal event.

I am

“y Respectfully Yours,

 
 
 

 

ory G. Snell,Jr.,/pro se

 
 

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